                 Case 8-19-74551-ast              Doc 16        Filed 07/19/19         Entered 07/20/19 00:18:59


                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 19-74551-ast
59 Sands Point LLC                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-8                  User: cmoffett                     Page 1 of 1                          Date Rcvd: Jul 17, 2019
                                      Form ID: 324                       Total Noticed: 15


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 19, 2019.
db             +59 Sands Point LLC,    7 Wellington Road,    Locust Valley, NY 11560-2415
smg            +NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,    Attn: Isolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9585588        +Bruce Palmieri,    138 Summit Avenue,    Montvale NJ 07645-1700
9585590        +Eve Winston,    768 Fifth Avenue,    a/k/a One Central Park South,   Unit 513,
                 New York NY 10019-1685
9585583        +Inc Village of Sands Point,    Att Building Department,    P.O. Box 188,
                 Port Washington NY 11050-0109
9585584        +Loeb & Loeb LLP,    345 Park Avenue,    New York NY 10154-1895
9585585       ++M&T BANK,    LEGAL DOCUMENT PROCESSING,    626 COMMERCE DRIVE,   AMHERST NY 14228-2307
               (address filed with court: M&T Bank Corporation,      Home Owners Assistance Center,
                 475 Crosspoint Pkwy,    Getzville NY 14068)
9595227         M&T Bank Corporation,    Loeb & Loeb LLP,    910 New York Avenue NW, Suite 300 East,
                 Washington, DC 20001,    Attn: Jon Hollis,Esq.
9585587        +NGL Contracting,    One Penn Plaza,    New York NY 10119-3699
9585582        +Ronald Frankel,    731 Lexington Avenue,    New York NY 10022-1331
9585589        +Schlam Stone & Dolan LLP,    Att Richard H Dolan Esq,    Att Samuel L Butt Esq,   26 Broadway,
                 New York NY 10004-1811

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Jul 17 2019 18:39:04
                 NYS Department of Taxation & Finance,   Bankruptcy Unit,   PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.li.ecf@usdoj.gov Jul 17 2019 18:38:40     United States Trustee,
                 Office of the United States Trustee,   Long Island Federal Courthouse,   560 Federal Plaza,
                 Central Islip, NY 11722-4456
9585586         E-mail/Text: camanagement@mtb.com Jul 17 2019 18:38:39     M&T Bank Corporation,
                 Legal Document Processing,   P.O. Box 844,   Buffalo NY 14240-0844
                                                                                            TOTAL: 3

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 19, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 17, 2019 at the address(es) listed below:
              Jonathan Hollis    on behalf of Creditor    M & T Bank Corporation jhollis@loeb.com
              Marc A Pergament   mpergament@wgplaw.com, n167@ecfcbis.com
              Samuel L. Butt   on behalf of Creditor Ronald Frankel sbutt@schlamstone.com
              Steven B Sheinwald    on behalf of Debtor   59 Sands Point LLC steves@kirschenbaumesq.com,
               ssheinwald@kirschenbaumesq.com
              United States Trustee    USTPRegion02.LI.ECF@usdoj.gov
                                                                                             TOTAL: 5
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 Information to identify the case:
 Debtor
                    59 Sands Point LLC                                                EIN 26−4572341
                    Name


 United States Bankruptcy Court Eastern District of New York
                                                                                      Date case filed for chapter 7 6/24/19
 Case number: 8−19−74551−ast




                                                    NOTICE REASSIGNING CASE

NOTICE IS HEREBY GIVEN THAT:

The above captioned case has been reassigned to the Honorable Alan S. Trust, United States Bankruptcy Judge,
pursuant to an order dated July 17, 2019.
Please take note of the new case number: 8−19−74551−ast .


 Dated: July 17, 2019


                                                                            For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnre7.jsp [Notice of Reassignment of Chapter 7 Case rev 02/01/17]
